Case 2:25-cv-00667-CBB Documenti1_ Filed 05/15/25 Pagelof1

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“Sosephn Michael Har NS. Petitioner ISBL /' BSC
Vs

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Low t Lodge, Vatked Skates Disitick Court, Fesseouter, Lesnondents

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CLERK U.S, DISTRICT COURT

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